     Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 1 of 47



                      UNITED STATES DISTRICT COURT FOR TI1E.
                          MIDDLE DISTRICT OF ALAR"— tO
                               NORTHERN DIVISION
                                                            HISUG 20	           : 25
JOHN DOES # 1-89                                     )	
                                                     )                H\Ct . CL
       Plaintiffs,                                   )	
                                                     )      Case No
               V.                                    )
                                                     )
LUTHER STRANGE III, Attorney General                 )	
of the State of Alabama in his Official Capacity,    )                 (Class Action)
and JOHN RICHARDSON, Secretary of the                )
Alabama Law Enforcement Agency, in his               )
official and individual capacities,                  )

       Defendants.                                   )
                                                     )


                                         COMPLAINT

                                   PRELIMINARY STATEMENT

   1. Plaintiffs John Does #148 are adult Alabama residents who have been retroactively

        reqUired to comply with the Alabama Sex Offender Registration and Community

        Notification Act for the rest of their lives. See Ala. Code § 15-20A-1 et seq. (ASORCNA,

        effective July 1, 2011).

  2 Under ASORCNA, the plaintiffs have been and will be subjected to the "most

        comprehensive and debilitating [sex offender] scheme in the land." See McGuire v.

        Strange, 2:11 -CV71027, doc. 283 at 2 (M.D. Ala. February 5, 2015). Specifically, the

       • plaintiffs are banned from living and working in the vast majority of areas where housing

        and jobs exist; hindered from maintaining intimate familial relationships; publicly and

        falsely identified as dangerous; required to carry a state-issued branded drivers' license

        with the inscription "CRIMINAL SEX OFFENDER" printed in bold-red letters on the
     Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 2 of 47



      front; restricted as to when they are allowed to travel; and subjected to an array of state-

      imposed restrictions -- under threat of felony penalties unparalleled in the United States

      in volume which collectively encompass virtually every facet of their lives. The

      Plaintiffs must comply with these debilitating restrictions and obligations for as long as

      they live.

3.    The plaintiffs ask this Court to recognize what other courts across the country have

      increasingly found: that the nature Of sex offender registration has fundamentally changed

      since 2003, when the U.S. Supreme Court upheld a registration scheme that imposed

      registration and internet notification only with effects that were "minor and indirect"

      restraints on registrants. See Smith v. Doe, 538 U.S 84, 100 (2003).

4.    Many provisions of ASORCNA are void for vagueness. The plaintiffs must comply with

      sweeping and complex restrictions and requirements under threat of a multitude of

      felonies, even though the language of the law does not provide clear notice of what is

      prohibited or required, either for those subject to it or for those who enforce it, making full

      compliance with the law . impossible.

5.    ASORCNA violates the plaintiffs' fundamental rights to travel, to work, to speak.and to

      be free from arbitrary an.ci oppressive laws without being lawfully tailored in a manner to

      meet Alabama's interest.

6.    Despite the July 1, 2011 effective date of ASORCNA, the statute's unprecedented

      strictures apply limitlessly, both retroactively and prospectively, regardless of the

      "qualifying" offense




                                                2
     Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 3 of 47



7.    The plaintiffs seek declaratory and injunctive relief ban-ing the application law to them

      and similarly situated registrants. The plaintiffs seek limitation of the application of

      •ASORCNA to those individuals who pose discernable threats to the public and children.

                                        JURISDICTION

8.    Jurisdiction is proper under 28 U.S.C. § 1331 and 1343 because the plaintiffs seek redress

      for the deprivation of rights secured by the U.S. ConstitUtion. The plaintiffs' federal

      claims are brought pursuant to 42 U.S.C. § 1983.

9.    The plaintiffs' claims for declaratory and injunctive relief are authorized by 28 U.S.C. §

      2201-2202, by Fed. R. Civ. P. 57 and 65, and by the legal and equitable powers of this

      Court.

10. State claims may be heard by virtue of this Court's supplemental jurisdiction pursuant to

      28 U.S.C. § 1367.

11. Venue is proper in the Middle District of Alabama pursuant to 28 U.S.C. § 1391(b).

      FACTUAL ALLEGATIONS: HISTORICAL EVOLUTION OF ASORCNA

1.    Alabama passed its first sex offender registration law in 1967. Ala. Act 507 (1967).

2.    The 1967 Act required one-time registration of adult sex offenders with the sheriff of their

      home county within 30 days after release from- legal custody or upon arrival in Alabama

      from another state. The registration information was only available to law enforcement

      and was-exempt from all public disclosure. Ala. Act 507 § 1-3.

3.    In 1996, Alabama passed the Community Notification Act (ACNA), its first version of a

      more "modem" sex offender law. See Ala. Act 96-793 (1996).

4.    The 1996 ACNA was not retroactively applied, and required only written notification

      upon an offenders change in address. There was no requirement form-person registration.



                                               3
     Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 4 of 47



       The ACNA required distribution of sex offender information to the community within

       certain distances of the offender by way of mail and postings at city hall and the police

       department closest to the registrant. Registrant violations were Class A misdemeanors.

       Ala. Act 96-793 2 (a); § 3 (a)-(e).

5.     Prior to March 1, 2002, the ACNA provided that with the exception of registrants who

       had been convicted of a sex offense on more than one occasion or an offense involving

       multiple victims, adult registrants were subject to the provisions of the statute for 25 years.

       After March 1, 2002, all adult registrants became subject to the statute for life.

6.     On July 1, 2011, ASORCNA became effective and repealed all prior iterations of

       Alabama's sex offender registration and notification laws. 2011 Ala. Acts, No. 640.

7.     ASORCNA's provisions apply to adult offenders convicted of one of thirty-one offenses

       defined as a sex offense under Alabama law, as well as those convicted in another

      jurisdiction of a crime that, "if it had been committed in [Alabama] under the current

      provisions of law, would constitute" one of the enumerated offenses. Ala. Code § 1-5-20A-

      5(33).

8.    The entire scheme is retroactive, capturing any enumerated or similar offense regardless

      of when it was committed. Ala. Code § 15-20A-3.

9.    ASORCNA restricts where a registrant may live and work, Ala. Code 15-20A-11, -13,

      and requires the distribution of community-notification flyers to those living near a

      registrant's residence, Ala. Code § 15 -20A-2 1. The community notification flyers provide

      the criminal history, home and work address and vehicle information of registrants.




                                                 4
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 5 of 47



10. A public registry website is maintained by the Department of Public Safety. Ala Code §

     15-20A-8. The website is required to include specific information regarding each

    registrant

11. The provisions Of ASORCNA require the Alabama Law Enforcement Agency to maintain

    a public registry website. The website must include information regarding each registrant

    under the law. Ala. Code § 15-20A-8.

12. ASORCNA also prohibits registrants from working or volunteering "at any school,

    childcare facility, or mobile vending business that provides services primarily to children,

    or any other business or organization that provides services primarily to children." Ala.

    Code § 15-20A-13(a). This provision applies regardless of whether

13. No ASORCNA registrant may "apply for, accept or maintain employment or volunteer

    for any employment or vocation" "within 2,000 feet of the property On which a school or

    childcare facility is located" or "within 500 feet of a playground, park, athletic field or

    facility, or any other business having a principal-purpose of caring for, educating, or

    entertaining minors." Ala. Code § 15-20A-13(c). The employment provisions - like most

    of the residency restrictions outlined above - apply with equal force regardless of whether

    the registrant's former victim was a minor.

14. Registrants must "appear in person to verify all required registration information"

    quarterly. Ala. Code § 1 5-20A-10(f). The law also requires each registrant to "obtain, and

    always have in his or her possession... a driver's license or identification card bearing a

    designation that enables law enforcement officers to identify the licensee as a sex

    offender." Ala. Code § 15-20A-18(a), (d). A State official has-chosen the inscription

    "CRIMINAL SEX OFFENDER" in bold, red letters of the face of the required
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 6 of 47



     identification. The only other red letters on Alabama-issued identification is the State's

     name.

15. Additionally, ASORCNA requires registrants who intend to be away from their county of

     residence for three or more consecutive days to "report such information in person

     immediately prior to leaving" and to complete a travel permit fOrm providing "the dates

     of travel and temporary lodging information." Ala. Code § 15-20A-15(a), (b). The permit

     form explains the duties of the registrant regarding travel, and registrants must sign the

     form, acknowledging their duties, or "the travel permit shall be denied." Ala. Code § 15-

     20A-15(d). When a registrant obtains a permit, the registrant's local sheriff must

     "immediately notify local law enforcement" in the registrant's destination. Ala. Code §

     15-20-15(e).

16. ASORCNA's provisions apply for life and without regard to the nature Of the offense, the

     age of the victim, or the passage of time since the underlying sex offense. Ala. Code § 15-

    20A-3.

17. A violation of ASORCNA's requirements potentially subjects the offender to one of 115

    Class C felonies. See, e.g., Ala. Code § 15-20A-15(h). Class C felonies in Alabama carry

    a- sentence- from-one to-ten -years. -Ala. -Code §- 13A-5-6;

18. There are certain exceptions to the residency restrictions: First, certain offenders are

    eligible for relief from the residency restrictions if they can convince a state circuit court

    that they are terminally ill or permanently immobile. Ala. Code § 15-20A-23. Second,

    certain- offenders convicted of relatively minor offenses can obtain circuit court relief from

    ASORCNA's registration and notification requirements; Ala. Code § 1520A24. A




                                               6
     Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 7 of 47



        similar provision allows for circuit court relief from ASORCNA's employment

        restrictions for a set of less serious crimes. Ala. Code § 15-20A-25.

  19.   ASORCNA's registration scheme requires offenders to register in-person four times a

        year, both with "[t]he sheriff of the county and the chief of police if the location subject

        to registration is within the corporate limits of any municipality.." Ala. Code § 1520A-

        4, -10. The county and city forms to be completed by homeless registrants are

        substantively identical.

  20.   ASORCNA registrants are required to pay a $10 fee to each agency to which they are

        required to register. Ala. Code § 15-20A-22 (a)-(b).

  21. For homeless offenders, the registration requirement is enhanced to once a week. Ala.

        Code § 15-20A-12(b).

  22. The 'City of Montgomery, Alabama currently has-three homeless offenders out of roughly

        430 registrants. Birmingham has 27 homeless out of roughly 560 registrants.

 23. The Alabama Legislature delegated rule-promulgating authority for .ASORCNA to the

        Secretary of the Alabama Law Enforcement Agency. Ala. Code § 1 5-20A-44.

                                            THE PLAINTIFFS'

                                                 John Doe #1

 24. Plaintiff John Doe #1 resides in the Northern District of Alabama.

 25. Mr. Doe #1 has a significant history of alcohol dependency.

 26. In 1992, while in a public location in Milwaukee Wisconsin, Mt. Doe #1 was observed by

        officers committing an act which exposed his genital area.

 27. In 1993, Mr. Doe #1 was arrested and charged for a similar act.



The plaintiffs' verifications attesting to the facts alleged in the complaint are attached as Exhs. 1-8.
                                                   7
     Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 8 of 47



28. Both charges were Wisconsin misdemeanors and Mr. Doe #1 pled guilty to each.

29. Mr. Doe #1 was sentenced to a 6-month suspended sentence and 18-months of probation

      for the 1992 conviction and a 6-month suspended sentence on the 1993 conviction.

30. He was never
           never required
                  requiredtotj register. as a Wisconsin sex offender as a result of his guilty plea.

31. Mr. Doe #1 arrived in Alabama to live with his family in 1994. At that time, there was no

      requirement that he register as a sex offender.

32. In 2005, Mr. Doe #1 was convicted of a crime that had no sexual component.

33. Mr. Doe #1 spent over three years in prison for the conviction and was released in 2008.

34. Because of his 2005 re-entty into the criminal justice system, Mr. Doe #1 was required to

      register as a sex offender under the Alabama Community Notification Act upon his release

      in 2008.

35    Mr. Doe #1 registered a friend's address in a relatively rural part of his county.

36. Local law enforcement approved Mr. Doe #1's address and he lived there for a lengthy

      period-of time-after his release from prison.
                            	
37. Mr. Doe #1 does not                   himself to be a sex offender. His misdemeanor conviction
                                 	
      did not involve a victim           had no violent component.
                                     	
38. Mr. Doe #1 vehemently                  that he is a "CRIMINAL SEX OFFENDER."

39. Mr. Doe #1 eventually	                 away from the .friend's home, found housing of his own

      and moved to a new location. He properly reported his new address to law enforcement.
                                   '
40. In May 2012, Mr. Doe #I had grown frustrated with what he felt was illegal activity near

      his new residence In order to avoid trouble, he moved back to the address where he had

      previously resided, which Iliad been previously approved by law enforcement.




                                                   8
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 9 of 47



41. In June 2012, Mr. Doe 01 was arrested by law enforcement and charged with failing to

     immediately report his change of address pursuant to Ala. Code § 15-20A-i 0(c).

42. About July of 2012, Mr. Doe #1 had grown weary of the humiliation he experienced each

     time he showed his identification branded by the state with the inscription "CRIMINAL

     SEX OFFENDER" in bold, red letters on the front. The humiliating inscription was

     redacted, leaving the rest of the information on his identification unmarked.

43. In August 2012, Mr. Doe #1 was arrested by law enforcement and charged with mutilating

     his branded state-issued identification pursuant to Ala. Code § 15-20A-18(e).

44. Mr.. Doe #1 is scheduled for trial on both the in-person reporting violation and for

     mutilating his identification charges on August 24 2015.

45. Mr. Doe #1 is currently required to comply with all adult provisions of ASORCNA,

     including residency, employment and travel restrictions; state-issued branded

     identification and lifetime adherence requirements. He registers quarterly with a single

     law enforcement agency.

                                           John Doe #2

46. John Doe #2 is an adult who resides in the Middle District of Alabama.

47. Mr. Doe #2 is the father of four children.

48. Mr. Doe #2 is a truck driver who mostly drives overnight and sleeps during the day.

49. In connection to 2005 allegations involving a min r, the State offered Mr. Doe #2 a plea

     agreement in which he would plead to assault in the third degree, harassing

     communication, indecent exposure and criminal trespass, all misdemeanor offenses.

50. Mr. Doe #2 accepted the plea offer. He wasgiven 3-years of probation.




                                             9
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 10 of 47



51. Mr. Doe #2 originally registered a single time in 2006. However, in March of 2015, Mr.

     Doe #2 began registering quarterly.

52. Prior to 2011, Mr. Doe #2 resided within city limits, which required him to register with

     both city and county law enforcement. In 2011, he move outside of the city and now

     registers with only the county law enforcement agency.

53. Mr. Doe #2 is anticipating a new truck driving assignment in September of 2015, which

     will require him to move back into the city. This move will again subject Mr. Doe #2 to

     dual reporting and the payment of dual fees required for registration with the local and

     county law enforcement.

54. Mr. Doe #2 has committed no crimes since his 2005 conviction.

55. Mr. Doe #2 is subject to the registration provisions of ASORCNA only. Mr. Doe #2 is

     not subject-to the residency, employment, travel, and branded identification requirements

     of ASORCNA.

                                            John Doe #3

56. John Doe #3 is an adult resident who lives in the Middle District of Alabama.

57. In 1968, John Doe #3 was years old, over 6 feet tall and weighed nearly 200 pounds.

58. During that year, he had been living with his grandmother because both of his parents had

     died

59. Mr. Doe #3 was arrested in 1968 and charged with the murder of a local woman.

60. Mr. Doe #3 was taken to the police station and interrogated. He was confised and

     disoriented by the arrest and denied all allegations.

61. Mr. Doe #3 was taken to a local cemetery where he was severely beaten by officers.

62. After Mr. Doe #3's confession and conviction, he was sentenced to 50 years in-prison.
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 11 of 47



63. Because of his youth, Mr. Doe #3 was initially sent to a mental institution. Upon teaching

     age 15 or 16, he was sent to a State prison where he spent approximately the next 40 years.

64. Due to his youth, Mr. Doe #3 became the target of many inmates in prison who sought to

     take advantage of his youth and fear.

65. In order to survive in prison, Mr. Doe #3 had to seek the protection of a prison gang who

     accepted and protected him in the years to come.

66. As the decades passed, Mt. Doe #3 gained skills as a boxer and graphic artist. He learned

     to perform custom paint work - a skill he felt he could use when he got out of prison.

67. In 1985, Mr. Doe #3 along with other inmates were questioned about an allegation of

     payment to Mr. Doe #3 and others in exchange for protection of another inmate.

68. The specific allegation was Mr. Doe #3 had accepted money from a 30 yearold inmate in

     exchange for using his elder status in prison to prevent sexual harm to the inmate.

69. Mr. Doe #3 was charged with Sodomy in the first degree.

70. A prosecutor offered Mt. Doe #3- a plea agreement that provided for a 25-year sentence

     that was to run concurrent with his original sentence in exchange for his guilty plea to the

     Sodomy charge.

71. Mr. Doe #3 was not required to serve additional time in prison beyond his original

     sentence because of his acceptance of the plea agreement.

72. Mr. Doe #3 was released-from prison in 2010. Mr. Doe #3 has committed no crimes since

    his 2010 release.

73. He is now subject to ASORCNA adult provisions for life because of the 1985 sodomy

    plea while in prison.




                                             11
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 12 of 47



74 Mr. Doe #1 is currently required to comply with all adult provisions of ASORCNA,

     including residency, employment and travel restrictions; state-issued branded

     identification and lifetime 'adherence requirements. He registers quarterly with both city

     and county law enforcement.

                                           John Doe #4

75. John Doe #4 is an adult resident who lives in the Middle District of Alabama.

76. John Doe 4 was convicted of rape in 1972, and spent six years in State prison.

77. Between 1983 and 1995, Mr. Doe #4 spent additional time in prison on. drug-related and

     property crimes.

78. Mr. Doe #4 moved to his current city in the fall of 1998, where he sought employment

     and housing at a local church.

79. Mr. Doe #4 has become a resident and member of the church; and a trusted employee of

     the church to this day.

80. Mr. Doe #4 was originally issued a state-issued-identification card in 1997. However, his

     state-issued identification card does not contain the inscription of "CRIMINAL SEX

     OFFENDER."

81 Prior to 2008, Mr. Doe #4 was not registering as a sex offender. At that time, Mr. Doe #4

     was notified by law enforcement that he was requited to register as an Alabama sex

     offender. Law enforcement also informed Mr. Doe #4 that he was living in and working

    in a non-compliant location and would have to move.

82. One of the church leaders, on behalf of Mr. Doe #4, te4uestd that local law enforcement

    allow an exception to the residency and employment restrictions for Mr. Doe #4. Law




                                            12
      Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 13 of 47



         enforcement granted the exception and allowed Mr. Doe #4 to continue to live and Work

         at the church, which houses one daycare and is situated within 300 feet of another.

    83. Mr. Doe #4 has committed no crimes since 1990.

    84. Mr. Doe #4 is currently required to comply with all adult provisions of ASORCNA,

         including residency, employment and travel restrictions; state-issued branded

         identification and lifetime adherence requirements. He registers quarterly with both city

         and county law enforcement.

                                             John Doe #5

    85. John Doe #5 is an adult resident who lives in the Middle District of Alabama.

    86. John Doe #5 is a highly-decorated retired Air Force helicopter pilot. He has flown rescue

         missions in various theatres in the world including during the Korean and Vietnam Wars.

    87. After 27 years of military service, Mr. Doe #5 returned to his hometown where he was

         active in civic organizations and military veterans' organizations.

    88. Mr. Doe #5 and his-wife have children4 grandchildren and great-grandchildren.

    89. In 1994, his 12 year-old granddaughter was experiencing some life difficulties, and living

         on the streets.

    90. When Mr. Doe 5 and his wife learned of his granddaughter's difficulties, they offered to

         have her in their home. Over the next three years, Mr. Doe #5 and his wife offered their

         granddaughter structure, support and safety from life on the streets.

    91. One evening in 1997, the granddaughter had some difficulties With the police department

         and was facing criminal charges.




2
  Mr. Doe #4 has been compliant with his registration since 2008, but has never been issued a
branded state identification card.
                                                 13
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 14 of 47



92. The next day, law enforcement came to John Doe #5's home and arrested him. He was

     charged with sexual abuse in the first degree and sodomy in the first degree of his

     granddaughter, who by then was 15 years old.

93. Mr. Doe #5 denied all allegations of the crimes for which he was charged.

94. Over the next-several months, Mr. Doe #5's family was in turmoil. The criminal case with

     his granddaughter was a stressful matter for his entire family.

95. Mr. Doe #5 was approaching the age of 65 at the time. His wife's health Was failing and

     Mr. Doe #5 was diagnosed with thyroid and colon cancer.

96. Mt. Doe #5 avers that he did not want his family to continue to suffer, so he decided to

     take a plea that had been offered earlier in lieu of the traunia his family would experience

     over the course of a trial. The agreement allowed him to plead guilty to a second degree

     sodomy charge.

97. Mr. Doe #5 entered into the plea agreement. He was Sentenced to 3 years of probation.

98. Mr. Doe #5 had no criminal history in the 64 years prior to his guilty plea, and has

     committed no crimes since.

99. Mr. Doe #5 is currently required to comply with, all adult provisions Of ASORCNA,

     including residency, employment and travel restrictions; state-issued branded

     identification and lifetime adherence requirements. He registers quarterly with county law

     enforcement.

                                           John Doe #6

100. John Doe #6 is an adult resident who-lives in the Middle District of Alabama.

101. John Doe #6 registers as a sex offender with both city and county law enforcement.

102. In 1994, John Doe #6 was in the midst of a bitter divorce from his-wife.



                                             14
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 15 of 47



103. Law enforcement arrived at Mr. Doe #6's home and requested that he come to the police

     station to speak with them.

104. When Mr. Doe #6 arrived they told him that his wife had reported that he had improper

     sexual contact with his five-year-old son.

105. Mr. Doe #6 denied any such allegations and explained to the officers that the relationship

     with his wife was very Strained due to the divorce.

106. After the conversation with law enforcement, Mr. Doe #6 was jailed.. No charges had been

     filed.

107. Later that day, the police department from another city transported him to the largest

     county in Alabama, where Mr. Doe #6 sat for three weeks.

108. After it was discovered that Mr. Doe #6 was transported to the large county jail in error,

     he was brought down to-the-booking area, booked and sent back to a jail celL

109. Shortly after, Mr. Doe #6 was provided a hearing in which he and the 5yar-old testified.

110. Over the next three years, Mr. Doe #6 sat in county jail awaiting-trial.-

111. Every few weeks, Mr. Doe #6 would receive a visit from the prosecutor asking him if he

     was ready to take a plea.

112. Mr. Doe #6 refused to take a plea.

113. In the fall of 1996, Mr. Doe #6 was still in jail and had not had a trial when his mother

     suddenly died.

114. Law enforcement transported Mr. Doe #6 to his mother's funeral in his jail uniform,

     handcuffs and leg shackles.

115. Mr. Doe #6 was broken after that day and had given up hope for a trial.




                                              15
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 16 of 47
                               I'




116. When the prosecutor came to him a few months later and told him "If you take the plea,

     you can get out of jail today," he decided to enter , into a plea agreement.

117. Mi. Doe #6's agreement included a plea of the charge of Sodomy in the first degree. After

     approximately three years in jail, he was released the same day he entered into the

     agreement.

118. Mr. Doe #6 had no criminal history prior to his 1997 guilty plea, and has committed no

     crimes since.

119. Mr. Doe. #6 is currently required to comply with all adult provisions of ASORCNA,

     including residency, employment and travel restrictions; state-issued branded

     identification and lifetime adherence requirements. He registers quarterly with both city

     and county law enforcement.

                                            John Doe# 7

120. John Doe #7 is an adult resident who lives in the Middle District of Alabama.

121. John Doe #7 was arrested in 1986 on an armed robbery charged.

122. Mr. Doe #7 was 27 years old at the time of his arrest and had no criminal history prior to

     the robbery charge.

121 Mr. Doe #7 was an ironworker who had a job constructing air hangers at the local Air

     Force Base at the time.

124. In 1985, Mr. Doe #7 was earning $15 per hour as an iron worker.

125. In July of 1986, a man who Mn Doe #7 had known very briefly asked Mr. Doe #7 for a

    ride to pick up a car part. One the way, the-man asked Mr. Doe #7 to stop to pick up lunch.

126. When they entered the restaurant, the man pulled a gun in an attempt to rob the

    establishment.



                                              16
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 17 of 47



127: After being arrested on the robber)' charge, Mr. Doe #7 was held in county jail with

     several other inmates, all in the same cell.

128. Mr. Doe #7 denied any involvement in the armed robbery and explained to law

     enforcement what happened that day.

129. Mr. Doe #7 was brought to an interrogation room several months after his arrest. An

     investigator told him that he was being charged with the rape of a jail inmate the day

    before.

130. Mr. Doe #7 explained that there were multiple people in the same cell and they all could

    vouch for his innocence.

13 1.. Law enforcement told Mr. Doe #7 that with the new charge, he would be facing life in

    prison without the possibility of parole.

132. Law enforcement provided an alternative for Mr. Doe #7 in the form of a plea agreement.

    They proposed to Mr. Doe #7 that if he pled guilty to the armed robbery charge, they

    wouldreduce his rape charge to sodomy in the second degree and only sentence him to 25

    years in prison. Law enforcement offered to run his sodomy sentence concurrent with the

    robbery sentence.

133. Mr. Doe #7 entered into the plea agreement and was sentenced to 25 years in prison. Due

    to an "administrative error," Mr. Doe #7 got out of prison one year after his 25-year

    sentence was complete.

134. Mr. Doe #7 was recently convicted of a felony for violating ASORCNA's in-person

    reporting requirements.

135 Mr Doe #7 is currently required to comply with all adult provisions of ASORCNA,

    including residency, employment and travel restrictions; state-issued branded



                                                17
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 18 of 47



     identification and lifetime adherence rqUirements. He registers quarterly with county law

     enforcement.

                                            John Doe #8

136. John Doe #8 is an adult resident who lives in the Middle District of Alabama.

.137. Mr. Doe #8 and his wife have 6 children and 22 grand and great-grandchildren.

138. In 2001 Mr. Doe #8 and his wife were involved in a bitter custody battle over two of their

     grandchildren. The grandchildren's other set of grandparents were attempting to gain

     custody as well.

139. On a report to law enforcement from the other grandmother, Mr. Doe #8 and his wife were

     initially charged with sexual abuse of one of the granddaughters.

140. Mr. Doe #8 denied all allegations of sexual abuse.

141. Charges against Mr. Doe #8's wife were dropped.

142. Mr. Doe #8 had no criminal history prior to the sexual abuse allegations.

143. Mr. Doe #8 decided to pursue his case at trial.

144. He was convicted of sexual abuse and sentenced to 5 years in prison.

145. Mr. Doe #8 was released from prison in 2008.

146. Mr. Doe #8 has committed no crimes since his release from prison.

147. Mr. Doe #8 is currently required to comply with all adult provisions of ASORCNA,

     including residency, -employment and travel restrictions; state-issued branded

     identification and lifetime adherence requirements. He registers quarterly with both city

     and county law enforcement.




                                             18
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 19 of 47



                                        THE DEFENDANTS

148. Defendant Luther Strange III, a better denomination of whom is presently unknown to

    the Plaintiffs, is a natural person believed to be over the age of 19 years, is or was at all

    times material hereto the Attorney General, an officer or agent of the State of Alabama.

    He is sued in his official capacity. The Attorney General's primary office is located in the

    Middle District of Alabama and he is an appropriate defendant in a case challenging the

    constitutionality of a state statute.

149. Defendant John Richardson is the Secretary of the Alabama Law Enforcement Agency.

    The Alabama legislature has granted him exclusive authority to promulgate rules as are

    necessary to implement and enforce ASORCNA, including but not limited to, how the

    drivers' licenses of registrants of ASORCNA are branded. Defendant Richardson's

    primary office is in the Middle District of Alabama. He is sued in his official capacity and

    is an appropriate defendant in a case challenging the constitutionality of a state statute. He

    is properly sued in his individual capacity as a person whose conduct proximately and

    directly caused harm to the Plaintiffs and the class of similarly situated registrants of

    ASORCNA.

  FACTUAL ALLEGATIONS: IMPACT OF ASORCNA ON THE PLAINTIFFS

150. ASORCNA imposes obligations, disabilities, and restraints that are unprecedented in

    number and scope. It is more expansive in its strictures than any statute regulating sex

    offenders in the United States.

151. By way of summary, ASORCNA contains onerous in-person registration, registration

    fees, residency and employment restrictions, and community-notification measures with

    additional provisions creating a scheme that regulates sex offendçrsfar beyond- the scheme



                                             19
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 20 of 47



     in any other state. For example, excluding legislation aimed at sexually violent predators,

     no other state has a scheme whereby sex offenders are retroactively regulated for life

     through residency, employment, and travel restrictions. In fact, only one other state -

     Tennessee - employs residency, employment, and travel restrictions, and it tempers the

     effects of thee provisions, providing for partial retroactivity and allowing Offenders who

     have successfully complied with the act for ten years to 'petition for termination of

  • participation in the registration program. T.C.A. § 40-39-207.

152. No other state requires dual registration for in-town sex offenders, instead all other states

     allow registrants to report to any single local law enforcement agency - whether municipal

     or county. See, e.g., Cob. Rev. Stat. § 16-22-102(4.5); 739 IlL Comp. Stat. 150/1 § 2(d);

     Kan. Stat. Anti. § 22-4902(m). Only five other states Arizona, Delaware, Hawaii, Idaho,

     and South Carolina - join Alabama in applying sex-offender regulations retroactively for

     the entirety of a registrant's life, but not one of those five states imposes travel restrictions,

     and only one of the -five imposes residency and employment restrictions. See Ariz. Rev.

     Stat. Ann. § 13-3821 et seq.; Del. Code Ann. § 4120 et seq.; Haw. Rev. Stat:. § 846E-1 et

     seq.; Idaho Code Ann. § 18-8301 et seq.; S.C. Code. Ann. §23-3-400 et seq. ASORCNA

     provides for no risk assessment of adult offenders in applying the requirements- of:

     lifetime application, retroactive application for all-time, felony enforcement by the gross,

     border-to-border (rather than parcel-to-parcel), Ala. Code § 15-20A- 11(g), residential and

     employment restrictions, and the chosen method of printing "CRIMINAL SEX

     OFFENDER" in red lettering on the face of state-issued identification.

153. ASORCNA severely limits , registrants' ability to: maintain intimate associations with

     family; find housing and employment; travel; engage in free speech activities or refrain



                                                20
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 21 of 47



     from speaking; be free from shame, embarrassment, humiliation and stigma; and

     understand what is required of them under the statute.

154. Registration under ASORCNA triggers an unprecedented level of additional obligations,

     coupled with affirmative disabilities and restraints under other federal state and local laws

     as well as private policies barring or limiting registrants from access to goods Or services

     available to the public.

               A. ASORCNA and Additional Alabama Residency Restrictions

155. ASORCNA severely limits plaintiffs' access to housing.

156. ASORCNA bars Plaintiffs from "establishing" or "maintaining" a residence within 2,000

     feet of a school or childcare facility, including private in-home daycares. Ala. Code § 15-

     20-11 (a). The plaintiffs are also prevented from living with family members if those

     family members live within 2,000 feet of a school or childcare facility.

157. ASORCNA's residency restrictions apply with limitless retroactivity and allow registrants

    to "maintain" a residence within 2,000 feet of a school or childcare facility only if the

    registrant established residence prior to the existence of the school or childcare facility.

    Ala. Code § 15-20A-l1 (a), (c). Registrants who were convicted and released from

    custody or parole prior to the enactment of ASORCNA, and who live within 2,000 feet of

    a school or childcare facility shall not "maintain" their homes if a school or childcare

    facility pre-dates their conviction andrelease - even though prior Alabama sex offender

    law did not require those registrants to move.

158; ASORCNA assigns felony penalties for registrants who spend even a single night in any

    residence with a minor who is not a child, grandchild or sibling of the registrant. Felony

    penalty attaches even if the overnight visit with the minor is a niece, nephew or other



                                             21
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 22 of 47



    relative and the overnight stay is in an ASORCNAicompliant residence. Ala. Code § 15-

    20A-11 (d).

159. Any violation of the residency restrictions is a Class C felony. Ala. Code § 15-20A-l 1

    (h).

160. John Doe #7 was released from prison after 26 years.

161. He was unable to locate or afford any housing available outside of ASORCNA's residency

    zones of exclusion.

162. He has family that lives in the Montgomery, Alabama area, however their homes are

    situated within ASORCNA's zones of exclusion.

163. Mr. Doe #7 has one family member who lives is a compliant zone per ASQRCNA and

    would gladly have him live there, but the relative has minor children which prohibits Mr

    Doe #7 from establishing residence at the home.

164. Mr. Doe #7 heard about a ministry in another county that allowed ASORCNA registrants

    to reside on-site in a "trailer park" setting. He called and inquired and was accepted as a

    resident. He lived there peaceably for over 30 months, With no criminal activity and no

    trouble with law enforcement.

165. Mr. Doe # 7 became very active in the ministry in his new home county, including

    befriending members ofother churches.

166. In 2014, Alabama then passed a new law which, when combined with ASORCNA's

    debilitating residency restrictions, made it impossible for ASORNA registrants to live

    Within 300 feet ofoneanother in Mr. Doe # 7's current home-county. Ala. Code. § 45-11

    82 (effective July 1, 2014).




                                            22
        Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 23 of 47



       167. Mr. Doe #7 was relegated to homelessness for a few days, but was able to find a rural lot

            which he was able to rent and park his motor home. He properly registered his new lot

            with 1oc1 law enforcement as his new address.

       168. Mr. Doe #7's motor home fell into disrepair and he had it towed to a mechanic's shop in

            a remote area of his home county.

       169. He slept under a tent on his registered lot while his motor home was being repaired, but

            was allowed by the mechanic to access the motor home each evening to take a shower

            prior to returning to his tent:.

       170. On or about June 2015, Mr. Doe #7 had just gotten out of the shower in his motor home

            when several county law enforcement officers arrived at the door of the vehicle.

       171. They banged on Mr. Doe #7's door and demanded entry and Mr. Doe #7 complied.

       172. A sheriff's investigator, Mr. Bone, asked Mr. Doe #7 why he was at the location. Mr. Doe

           #7 explained he was there to take a shower before returning to his tent.

-	    173. Mr. Doe #7 was arrested and charged with a violation of ASORCNA.

      174. Mr. Doe #7 was told by Investigator Bone that he was required to be at his residence

           between the hours of 9:00 p.m. and 5:00 a.m., and that it was a crime I for him not to do

           so.3

      175. After being arrested by the investigator, Mr. Doe #7 was taken to county jail and released

           on bond after several days.

      176. Mr. Doe #7's attorney told him that he would not win his case and he should "take a plea

           deal."




     This is not and has never been a requirement under ASORCNA
                                                   23
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 24 of 47



177. On the advice of his attorney, John Doe #7 took a plea and Was convicted of a felony for

     violating Ala. Code § 15-20A-10. He was sentenced to a two-year suspended sentence

     and 14-months probation.

178. Another ASORCNA registrant who lived on the Triumph Church grounds as John Doe

     #7, Mr. Cleveland Allen, was ousted from his residence.-See Exhs. 9 (Allen Verification),

     10 (Martin Decl.).

179. Mr. Allen moved the church grounds in 2012 after his release from prison. He was forced

     to move out of his father's home and from Jefferson County because it was within an

     ASORCNA zone of exclusion.

180. There was nowhere for him. to live in compliance with ASORCNA in Jefferson County

    because of an Alabama law that places additional residency restrictions on Jefferson

     County registrants. See Ala Code § 13A-204.

181. Mr. Allen was rendered homeless and registered as such the first week after his Ouster

     from the church grounds.

182. He moved to the woods of Chilton County and reported the woods as his address as

    required.

183. When he walked to the Chilton County Sheriff's Office to register after his second week

    of homelessness, he was ordered to get in the county investigators vehicle.

184. The investigator ordered Mt Allen to show him where he lived in the woods. Mr. Allen

    complied, showing the investigator his spot in the woods, along with his tent and self-

    made pallet.

185. The county investigator then took Mr. Allen to the Chilton County jail, where Mr. Allen

    was arrested. When Mr. Allen inquired as to why hewas being arrested, thel investigator



                                            24
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 25 of 47



     told him that he had "checked the woods earlier that week between the hours of 9:00 p.m.

     and 5:00 a.rn." and Mr. Allen was not there.

186. The investigator told Mr. Allen that he violated ASORCNA's residency reporting

     requirements because he was not there between 9:00 p.m. and 5:00 a.m.

187. Mr. Allen sat in jail for 10 months.

188. Mr. Allen's attorney similarly told him "I don't think I can win your case. You should

     take a plea deal."

189. Mr. Allen had three prior felonies and was subject to the Alabama Habitual Offender Act.

190. His attorney told him that as. part of his plea, he would get a 15-year sentence but would

     serve only two With the rest suspended. His attorney told him that he would be credited

     for the time he had already spent in jail and would be out of prison the sarrie day given the

     accumulated "good time" served.

191. When Mr. Allen arrived at prison, he was told that his sentence was split and he would be

     serving an additional 14 months in prison. Mr. Allen is still incarcerated at the time of

     this filing.

192. Mr. Doe #4 has lived and worked at a local church in his community for the past 17 years.

193. The church is in an ASORCNA-restricted zone and has been established at that location

     since 1947. The church maintains services to children.

194. There is another privately owned daycare located, less than 300 feet from the church where

    Mr. Doe #4 lives and works.

195. Mr. Doe #4 was first required to register under Alabama sex offender law in 2008.

196. About 2008, Mr. Doe #4 was informed bylocalraw enforcement that he was living in a

    non-compliant zone and would have to move.



                                              25
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 26 of 47



197.. A church leader, Mr. Doe #4 7 s landlord and employer, went to local law enforcement and

     asked that Mr. Doe #4 be allowed an exception and to continue to live and work at the

     church.

198. Law enforcement granted the church leader's request.

199. Mr. Doe #4 lives and. works there currently and is grateful, but is afraid that if law

     enforcement personnel changes, he may be required to leave the only home he has known

     since arriving in his current community.

200. Mr. Doe #5 is a pre-ASORCNA registrant.

201. At the time of his conviction sentenceof probation, he and his wife had lived in their home

     for over 20 years. Alabama sex offender law did not require him to vacate his home after

     his conviction. Ala. Code . 15-20-26(a), (e) (repealed).

202. In spite of this fact, local law enforcement officer came to his home one day and told him

     that he lived too close to a home daycare and would have to move within 7 days.

203. Because of this incorrect statement of law-by law enforcement, Mr. Doe #5 and his wife

     were required to leave a home they had owned for over 20 years.

204. Mr. Doe #5 and his wife left children and grandchildren behind in their old community -

     - children and grandchildren that visited frequently.

205. Mr. Doe #5 had no idea where he could live lawfully after being told he had to move, so

     he decided to move to -arural county, where he knew there were no schools.

206. Upon arrival in his new county, local law enforcement required Mr. Doe #5 to attend a

     community meeting so that "members of the community could identify and question him

     and his wife and approve of his presence."




                                             26
   Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 27 of 47



 207. Since Mr. Doe #5 had to leave his home county for a new one, his ability to see his children

      and grandchildren have diminished due to the distance from their homes, and he and his

      wife's health and age.

 208. John Doe #1 is scheduled for trial on August 24, 2015 for violating the residency reporting

      requirements of ASORCNA.

 209. The address where Mt. Doe #1 currently lives is an address located in a very rural

      community and is compliant per ASORCNA.

 210. The address he had previously registered with law enforcement prior to relocating briefly.

 211. In an effort to avoid surrounding illegal activity, Mr. Doe #1 moved back to the home he

      had previously registered. He did not believe he had to report the home immediately,

      since he had already lived there previously with law enforcement approval.

 212. Mr. Doe #1 knew that no new schools or daycares had re-located to the area, since there

      was only forestry located within 2000 feet of the rural family property.

213. John Doe #6 and his wife have lived in their ASORCNA compliant home for 10 years.

     They have 17 nieces and nephews, 12 of whom are minors.

214. They have a very close family who get together often for family functions.

215. Many times family members stay overnight with other family members. However, John

     Doe #6 is always required to leave because his minor nieces and nephews live in the homes.

     However, he does not want to ruin his wife's fànily experience, so he often leaves her there

     with family overnight while he returns home alone.




                                              27
   Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 28 of 47



                           B. ASORCNA Employment Restrictions

216. ASORCNA prohibits registrants from "applying, accepting, maintaining or volunteering"

     for any employment within 2,000 feet of a school or childcare facility. Ala. Code § 15-

     20A-13 (a), (b).

217. Any violation of the employment restrictions jsa Class C felony. Ala. Code § 15-20A-13

     (g).

218. As a result employment opportunities for registrants of the statute are decreased. The

     decrease in employment opportunities is a general effect arising from the explicit text of the

     statute - an effect that is necessarily faced by all offenders.

219. John Doe # 6 has tried for years to find gainful employment. For years, he worked as an

     equipment delivery-truck driver. But after one of his supervisors saw his identification with

     "CRIMINAL SEX OFFENDER" branded on it one day, he was fired On the spot.

220. For over three years since being fired, Mr. Doe #6 tried numerous times to find

     employment. Mr. Doe #6 has checked at-least 50 different employer locations over the past

     three years, only four of them being compliant per ASORCNA's employment zones of

     exclusion. He was unsuccessful in gaining employment at any of the four compliant

     employer locations.

221. Mr. Doe #6 wants to work, but feels he is trapped in a "catch-22" because he doesn't know

     where he can lawfully work, law enforcement does not give him information about where

     he can work, and he cannot randomly apply Without the possibility of committing a felony.

222. John Doe #8 does lawn service work from March through October each year and

     approximately six total times per month.




                                                28
   Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 29 of 47



223. Mr. Doe #8 only takes work at two residences because he believes they are not located close

     to schools of childcare facilities. He earns $55.00 each time he works, totaling

     approximately $330.00 per month.

224. Mr. Doe #8's wife is a housekeeper, earns minimum wage and brings home about $1000.00

     per month after deductions.

225. Mr. Doe #8 estimates that he can earn at least four times the amount he currently earns

     doing lawn service based on inquiries he gets-for his service. Mr. Doe #8 wants to and has

     the opportunity to take on more lawn service work but fears arrest if he works around an

     ASORCNA restricted area. He and his wife struggle each month to make ends meet as a

     result.

226. John Doe # 3 is a highly-skilled auto painting artist. He specializes in custom painting of

     automobiles and trucks. He developed these skills during his 40 years in Alabama prison.

227. Mr. Doe #3 has inquired about working at several auto body and paint location in his city.

     None of them are ASORCNA compliant because of the zones ofexclusion.

228. Mr. Doe #3 is relegated to doing ad hoc "odd jobs" such as loading and unloading trucks or

     cleaning up trash sites when temporary employers come to his residence looking for "day

     laborers."

229. Mr. Doe #3 estimates that his skill could earn him at least $30,000 in annual salary in his

     city. However he is unable to work at any of the potential employers employers who

     covet his skills - because of ASORCNA's employment zones of exclusion.
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 30 of 47



                                 C. ASORCNA's Travel Restrictions

2301 . ASORCNA's travel restrictions require 3-day advance notice prior to registrant out-of-

     county travel, if the registrant will be traveling for more than two days. Ala. Code § 15-

     20A-15 (a), (d).

23 1. Any violation of the travel restrictions is a Class C felony. Ala. Code § 15-20A-15 (h).

232. John Doe #5 is a military veteran and an avid traveler.

233. Prior to the-enactment of ASORCNA, he and his wife each year would take trips in their

     motor home across the United States. They would travel as far as Nevada to see family

     and friends. Each year, they would visit family in Georgia-and enjoy an annual festival

     for several days. Mr. Doe #5 would park his motor home at the festival location and stay

     for as long as a week.

234. Since ASORCNA, Mr. Doe #5 and his wife has stopped traveling as frequently. It is

     demeaning for him to have to ask permission to do what he and his wife have done freely

     over their more than 50 years of-marriage. Further, it causes embarrassment to the family

     and friends they visit due to the contact with the visiting city's law enforcement alerting

     them to John Doe #5's visit.

235. In 2012, John Doe #8's brother passed away. He learned of his brother's death on a

     Monday, and the funeral service was set for the upcoming Saturday.

236. He informed law enforcement of the funeral and got permission to travel: He was asked

    by the city law enforcement agency how long he would be gone. He stated to them he

     was not sure.

237. A city law enforcement officer told Mr. Doe #8 that if he would-be gone for more than

    -two days, his residence would change to California.



                                             30
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 31 of 47



2 3 8 . Mr. Doe #8 was confused, as he only planned to attend the funeral, support his family for

     the period of time necessary, and return to Alabama.

239. Mr. Doe #8 did not want to break the law, or move to California, so he knew he could not

     drive to his brother's funeral because the round-trip drive would take him more than two

     days.

240. Instead, he borrowed money from family to purchase plane tickets for him and his wife.

     They arrived in California on Friday-night. The funeral was Saturday morning. For fear

     of violating ASORCNA, he and his wife flew back Saturday night just hours after his

     brother's burial.

241. A few short months later, Mr. Doe #8's sister died. She lived in Florida. Recalling his

     experience with local law enforcement when his brother's died, Mr. Doe 48 risked the

     felony conviction for failing to seek a travel permit and went to his-sister's funeral. He

     and his wife stayed for five days to offer support to his family members. He did not report

     his trip-to law enforcement.

                         D. ASORCNA's Branded Identification Requirement

242. To the exclusion of all other identification, ASORCNA requires registrants to carry state-

     issued identification that "enables law enforcement to identify" the licensee as a "sex

     offender." Ala. Code 15-20A- 18 (a), (c), (d). Registrants are required to "always have in

     his-or her possession" the state issued identification. Ala. Code 1 5-20A- 18 (a).

243. Additionally, registrants shall not "mutilate, mar, change, reproduce, alter, deface,

     disfigure, or otherwise change" the branded identification; Ala. Code 1 5-20A- 18 (e).

244. Any violation of the branded identification requirement isaClassC felony. Ala. Code §

     15-20A-18 (f).
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 32 of 47



245. The Alabama Legislature delegated rule-promulgating authority for ASORCNA to the

     Secretary of the Alabama Law Enforcement Agency (formerly titled Director of the

     Alabama Department of Public Safety) Ala. Code       §   15-20A-44.	               -

246. Defendant Richardson has made a conscious decision to have "CRIMINAL SEX

     OFFENDER" inscribed on the identification of as many as 17,000 registrants.

247. The designated inscription is in bold, red letters on the face of the identification.

248. The only other red letters on the face of the state-issued identification is the State's name

249. This was Defendant Richardson's decision and not a requirement Of the statute as passed

     by the Alabama Legislature.

250. John Doe #1 is humiliated each time he shows his branded identification. He does not

     consider himself a sex offender because he was not convicted of a crime involving a

     victim.

251. He vehemently disagrees with the State's branding of his driver's license, labeling him as

     a "CRIMINAL SEX OFFENDER."

252. Mr. Doe #1 has experienced shame and humiliation multiple times, but paiticularly

     whenever he patronizes stores and other retail merchants. He gets stares and harsh

     treatment many times when presenting his branded identification.

253. Mr. Doe #1 grew weary of carrying the . branded identification because of the humiliating

     ostracism he experienced on a constant basis.

254. The branded inscription was scratched out on his driver's license, making the brand

     "CRIMINAL SEX OFFENDER" illegible.




                                              32
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 33 of 47



                                         	
255. When he was arrested for not                    his old and ASORCNA-compliant family
                                                 	
     residence as his new residence when he            back, local law enforcement asked for his

     identification.

256. Upon law enfOrcement noticing that Mr. #1 had redacted the brand "CRIMINAL

     SEX OFFENDER" from the license,-he Wa charged with a felony for violating Ala. Code

     15-20A-18 (e) His trial on this charge along with charge for failure to report a change of

     his residency is August 24, 2015.

257. John Doe #8 renewed his branded driver's, license in August of 2015. It is branded with

     "CRIMINAL SEX OFFENDER."

258 Mr. Doe #8 is embarrassed and humiliated ;,when he has to show his identification.

259. He uses his identification in normal            activities such as shopping at convenience

     stores.
                                              	
260. Mr. Doe #8 recently visited a local home                   store. The store clerk looked at

     his branded identification, dropped it on	      counter and had someone else to assist Mr.

     Doe #8 with check-out instead.
                                             	
261. John Doe 93 enjoys shopping with his               but avoids doing so as much as possible

     because he is ashamed to show his branded identification.

262. John Doe #4 does have a branded identification. Although he was convicted of rape, local

     law enforcement has not enforced, this proviion. His State identification card was issued

     in 1997 after his 1972 rape conviction and he shows his identification each time he goes

     to his quarterly double-registration.

263 John Doe #5 is a retired military veteran He proudly carries his military identification,

     although he is violating ASORCNA' for doing so.



                                             33
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 34 of 47



264. Mr. Doe #5. refuses to use his state-issued branded identification unless it is the only

     identification he is allowed to present.

265. Mr. Doe #5 is ashamed to present the branded identification and is willing to risk a felony

     conviction before giving up his retired- military identification.

266. Mr. Doe #6 was recently at a local clinic for medical services. Initially, he Was engaged

     in a cordial conversation with the person who was working the intake window.

267. After requesting to see Mr. Doe #6's identification and-viewing it, the intake worker told

     him "You need to go somewhere else! We can't serve you here!" Mr. Doe #6 left the

     clinic humiliated and distraught.

                            E. Vagueness and Impossibility of Compliance

268.. The plaintiffs have been further harmed because the restrictions and obligations of

     ASORCNA are so vague that the plaintiffs are unable to know whether or not they are in

     violation of the law, or are so extensive and pervasive that the plaintiffs are literally unable

     to comply with the law. Moreover as discussed supra, different law enforcementagencies

     in different places apply the requirements of ASORCNA differently.

269 ASORCNA's residency zones of exclusion are so vague that keeping track of housing

     options for registrants is an unresolvable nightmare administrative- problem for law

     enforcement. For registrants who face felony penalties should they make the wrong

     choice, keeping track is impossible and the fear of failing to-keep track is ever-present.

270. For example, registrants may not establish a residence Within 2000 feet of a daycare or

     childcare facility.

271. It is impossible for registrants and law enforcement to measure the 2000 foot distances

     from evety school or childcare facility while navigating the daily changes in real estate.



                                                34.
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 35 of 47



272. Registrants are baffled about what truly constitutes establishing and maintaining housing.

     Registrants can live anywhere they wish, compliant or not for 9 non-consecutive nights

     per month, as long as they return to the compliant home every two days. Otherwise, they

     establish a new residence. Ala. Code § 15-20 .A4 1 (e)(3).

273. Registrants have no way of knowing and law enforcement cannot explain what the term

    • "overnight" means and the statute does not provide a definition. Some officers don't know

     if it means registrants may be in a non-compliant residence between 12:01 am and 11:59

     p.m., only leaving for one minute. Others operate under the unwritten law of 9 p.m. and

     5 a.m. as the definition of "overnight."

274. As exhibited by John Doe #4's situation, law enforcement officers allow registrants to

     live in non-compliant zones whenever they decide to simply "look the other way" on the

     violation. Others, exhibited by the treatment of John Doe #7 and Clarence Allen, target

     registrants for strict enforcement.

275. The same problems with vagueness occur with the employment zones of exclusion. After

     becoming subject to ASORCNA, registrants shall not "maintain" their jobs if a school or

     childcare facility predates registrant employment Ala. Code § 15-20A- 13.

276. Defendant Strange admits that he dOesn't know if sending out resume's constitutes

     "applying" for a job. . See McGuire v. Strange, et al., 15-10958 (11th Cir. 2015), Cross-

     Appeal Opening Br., p. 13 (Defendant Strange admitting "It is unclear, for eampie,

     whether 'apply[ing]' for employment includes 'sending out resumes.")

277. Travel requires 3-day permission, but only when law enforcement offices are open. See

     McGuire v. Strange, Trial Tr. Vol XXat x; id. Vol. XXat X.

278. Emergency and spontaneous travel is prohibited, unless officers decide to grant the travel.



                                                35
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 36 of 47



279. ASORCNA's prohibitions on loitering make it impossible for the plaintiffs to determine

     if and when they are breaking the law. Law enforcement applies the law in an arbitrary

     and uneven, fashion because of the vagueness of the loitering provisions. See infra at ¶J

     284-285; see also, McGuire v. Strange, doc. 166=18, Murphy Dep. at 59.

            F. ASORCNA's State-Mandated Active Distribution of Notification Flyers

280. ASORCNA requires law-enforcement officers to notify every resident within a specific

     distance that a registrant has moved into the neighborhood, as well as every school and

     childcare facility in a three-mile radius of the registrant's residency. Ala Code 15-20A-

     21.

281. The flyers contain truthful information about registrants' registerable offense.

282. The flyers provide every resident with the registrants' picture, address, and a physical

     description.

283. John Doe #6 had community notification flyers distributed in the neighborhood around

     his home.

284. Mr. Doe #6 recalls at least five of his neighbors coming to his home, each of them

     expressing concerns that Mr. Doe #6 may be a danger to children in the neighborhood.

285. As Mr. Doe #6 and his wife Were leaving home on Saturday afternoon, one community

     resident walked to the middle of the street in front of Mr. Doe #6's home and yelled to

     them, several times, "We don't need no baby rapers around here!"

286. John Doe #5 and his wife's experience demonstrates the vitriol that flyers can create. See

     infra at1206.




                                             36
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 37 of 47



                                G. ASORCNA's Loitering Restrictions

287. For registrants who were convicted of crimes against minors, ASORCNA prohibits

     registrants from "loitering" within 500 feet of the "property line of a school, childcare

     facility, playground, park, athletic field or facility, school bus stop, college or university,

     or any other business or facility, having a principle purpose of caring for, educating, or

     entertaining minors." Ala. Code § I 5-20A- 17 (a).

288. ASORCNA defines "loitering" to mean "to enter or remain on a property while having

     no legitimate ppose or, if a legitimate purpose exists, remaining on that property beyond

     the time necessary to fulfill that purpose." Ala. Code § 15-20-1.7 (b).

289. John Doe #6 was recognized by local law enforcement while he was attending a family

     reunion in a park.

290. Amidst scores of family member and friends, the law enforcement officer stated to Mr.

     Doe #6 without explanation, "I know who you are, and it is time for you to go!" Mr. Doe

     #6 was required to leave his family reunion simply because an officer identified him and

     ordered him to do so

          COUNT I: VIOLATION OF THE DUE PROCESS CLAUSE (Residency)

291. The right to maintain intimate associations is a fundamental tigIt that is protected under

     the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

292. ASORCNA substantially interferes with the plaintiffs ability to maintain intimate

     associations with family though its residency zones of exclusion.

293. ASORCNA does not provide for any individualized consideration before restricting the

    plaintiff's ability to associate with close family members.




                                               37
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 38 of 47



294. ASORCNA violates the plaintiffs fundamental right to intimate family associations

     because it is not narrowly tailored to serve a compelling state interest.

      COUNT II: VIOLATION OF THE DUE PROCESS CLAUSE (Employment)

295. The right to engage in the common occupations of life is a fundamental right that is

     protected under the Due Process Clause of the Fourteenth Amendment.

296. ASORCNA substantially interferes with the plaintiff's ability to engage in the common

     occupations of life through the statues employment zones of exclusion.

297. ASORCNA creates a wholesale barrier to employment. That barrier is not based on the

     plaintiffs' fitness or capacity to work in the jobs from which they have been excluded.

298. ASORCNA does not provide for any individualized consideration before restricting the

     plaintiff's ability to engage in the common occupations of life.

299. ASORCNA violates the plaintiff's fundamental right to engage in the common

     occupations of life because it is not narrowly tailored to serve a compelling state interest.

           COUNT HI: VIOLATION OF THE DUE PROCESS-CLAUSE (Travel)

300. The right to maintain travel is a fundamental right that is protected under the Due Process

     Clause of the Fourteenth Amendment to the United States Constitution.

301. ASORCNA substantially interferes with the plaintiff's ability to travel.

302. ASORCNA does not provide for any individualized consideration before restricting the

     plaintiff stight to travel.

303. ASORCNA violates the plaintiff's fundamental right to travel because it is not narrowly

     tailored to serve a compelling state interest.




                                               38
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 39 of 47



               COUNT IV: VIOLATION OF THE DUE PROCESS CLAUSE
                            (Vagueness and Impossibility)

304. The Due Process Clause of the Fourteenth Amendment prohibits states from enforcing

    laws that are unconstitutionally vague. As a matter of due process, statutory requirements

    must be written with sufficient specificity that persons of ordinary intelligence need not

    guess at their meaning and will not differ as to their application.

305. ASORCNA contains provisions that are invalid under the vagueness doctrine because

    those provisions fail to provide a person of ordinary intelligence fair notice of what is

    required and what is prohibited under the statute, making it impossible for the plaintiffs to

    confom their conduct to the statutory requirements, and making it likely that the statute

    will be enforced in different ways in different places or against different persons, as

    exhibited by allegations-supra.

306. The Due Process Clause of the Fourteenth Amendment prohibits states from enforcing

    laws with which it is impossible to comply. ASORCNA contains provisions with which

    compliance is impossible.

307. The provisions of ASORCNA that are void for vagueness, or are impossible to comply

    with include but are not limited to:

   a. the prohibitions on residing in ASORCNA's residency exclusion zones, Ala. Code §
      15-20A-1 1.
   b. the prohibitions on employment in ASORCNA's employment exclusion zones, Ala.
      Code § 15-20A-13.
   c. the requirement to maintain state-issued identification with a "sex offender"
      designation. Ala. Code § 15-20A-1 8.
   d. the restrictions on travel created by ASORCNA's travel permission requirements, Ala.
      Code § 15-20A-15.
   e. the public venue exclusion zones created by ASORCNA's loitering restrictions, Ala.
      Code § 15-20A-17.




                                             39
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 40 of 47



                   COUNT V: VIOLATION OF THE FIRST AMENDMENT

308. The First Amendment prohibits abridgment of the freedom of speech. The guarantees of

     the First amendment include citizens' affirmative speech and expression through family

     associations and one's chosen occupation. The First Anendment also guarantees the right

     not to speak and to be free from government compulsion of speech. The Fourteenth

     Amendment incorporates the First Amendment against the States.

309. Through its geographic zones of exclusion, ASORCNA infringes the plaintiffs' ability to

     express themselves through intimate family associations and participation in the common

     occupations of life. See supra Comp. ¶J 208-215.

310. Through its requirement that registrants carry state-issued identification with the branded

     inscription of "CRIMINAL SEX OFFENDER" in bold, red letters on the face, ASORCNA

     infringes on the plaintiffs' and the class of similarly situated registrants' right to refuse to

     foster, in the way Alabama commands, a government brand they find objectionable. See

     supra Comp. ¶J 250-253.

311. The branding of registrants' identification, coupled with the requirement that registrants

     relinquish to the state all other identification not bearing a designation, is proscriptive of

     registrants' First Amendment right to tailor their own message during normal daily

     activities.

311 ASORCNA's residency and. employment exclusion zones chill registrants' right to

     intimate expression through family associations and chill registrant expression through

     their chosen work. The exclusion zone provisions are invalid Under the First Amendment

     because the restrictions are not narrowly tailored to serve a- compelling state interest.




                                               40
 Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 41 of 47



313. ASORCNA's branded identification requirement is invalid under the First Amendment

     because the requirement is not narrowly tailored to serve a compelling state interest and

     because it prohibits a substantial amount of protected speech.

                   COUNT VI: VIOLATION OF THE FIFTH AMENDMENT

314. The Fifth Amendment prohibits the compulsion of a citizen to be a witness against

     himself in any criminal case; the deprivation of life, liberty and property without due

     process of the law; and takings of private property for public use, without just

     compensation. The Fourteenth Amendment incorporates the Fifth Amendment against

     the States.

315. ASORCNA's requirement that registrants carry state-issued branded identification, to the

     exclusion of all other violates the plaintiffs' Fifth Amendment right to remain silent during

     law enforcement investigation or interrogation.

316. ASORCNA's branded identification and residency requirements are invalid under the

     Fifth Amendment because the requirements are not narrowly tailored to- serve a

     compelling state interest.

       COUNT VII: VIOLATION OF THE DUE PROCESS CLAUSE (Privacy)

317. The right to privacy is a fundamental right that is protected under the Due Process clause

     of the Fourteenth Amendment to the United States Constitution.

318. ASORCNA substantially interferes with the plaintiffs' ability to maintain privacy-through

     unwarranted dissemination of public and private registrant information.

319. ASORCNA requires that registrants carry state-issued identification with the inscription

     "CRIMINAL SEX OFFENDER" in bold, red letters On itsface. Registrants must present




                                              41
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 42 of 47



     this branded identification during normal daily activities such as patronizing a grocery

     store.

320. ASORCNA mandates that law enforcement officers actively distribute community

     notification flyers whenever a registrant seeks to establish a residence in an Alabama

     community.

321. The notification flyers contain private information such as home addresses and physical

     descriptions of the registrants.

322. ASORCNA does not provide for any individualized consideration prior to the disclosure

     of public and private information.

323. ASORCNA violates the plaintiffs fundamental right to privacy because the required

     disclosure of information is unwarranted and is not narrowly tailored to serve a significant

     state interest.

                 COUNT VIII: VIOLATION OF THE DUE PROCESS CLAUSE
              (Arbitrary and Oppressive Dual Reporting and Dual Fee Requirements)

324. The Due Process Clause of the Fourteenth Amendment -imposes limits on-legislation that

     is harsh or oppressive or that violates principles of fundamental fairness.

325. The requirement that registrants who live in Alabama cities and towns with police

     departments ("in-town" registrants) report at twice the frequency as registrants who are

     not in-town residents is an arbitrary and oppressive restraint on in-town registrant liberty.

326. The requirement that registrants who live in Alabama cities and towns with police

    departments ("in-town" registrants) pay twice the amount in fees as registrants who are

    not in-town residents is an undue deprivation that is arbitrary and oppressive.

327. ASORCNA does not provide for individualized assessments to make determinations if in-

    town registrants pose a greater threat to the community than other registrants.


                                              42
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 43 of 47



328. ASORCNA violates the plaintiff's Fourteenth Amendment rights because the "in-town"

     double-registration, "in-town" double fee provisions are not narrowly tailored to serve a

     significant state interest.

             COUNT IX: FIRST and FIFTH AMENDMENT VIOLATIONS
            (DEFENDANT RICHARSON IN HIS INDIVIDUAL CAPACITY).

329. The First Amendment prohibits abridgment of the freedom of speech. The guarantees of

     the First amendment include citizens' affirmative speech, the right not to Speak and to be

     free from government compulsion of communications.

330. Defendant Richardson has made a conscious decision to require registrants to always have

     in their possession a state-issued identification with the branded inscription of

     "CRIMINAL SEX OFFENDER" in bold, red letters on the face. By doing so Defendant

     Richardson infringed on-the plaintiffs' and the class of similarly situated registrants' right

     to refuse to foster, in the way Alabama commands, a government brand they find

     objectionable.

331. The branding of registrants' identification, -coupled with -the requirement that registrants

     relinquish to the state all other identification not bearing a designation, is proscriptive of

     registrants' First Atneridment right to tailor their own message during normal daily

     activities.

332. Defendant Richardson choice to brand ASORCNA registrant identification in the manner

     in which he is, violates the plaintiffs' and the class of similarly situated registrants' Fifth

     Amendment right against self-incrimination - the right to remain silent when

     encountering law enforcement.




                                               43
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 44 of 47



333. The Alabama Legislature delegated the policy-making function of ASORCNA to

     Defendant Richardson, the Secretary of the Alabama Law Enforcement Agency. Ala.

     Code 15-20A-44.

334. In exercising his authority, Defendant Richardson, from the various alternative and less

     intrusive methods, made a conscious decision, to inscribe "CRIMINAL SEX

     OFFFENDER" on the drivers' licenses and identification cards of as many as 17,000

     registrants of ASORCNA.

335. Defendant Richardson admitted that he chose to inscribe "CRIMINAL SEX

     OFFENDER" on all registrants' state-issued identification. See McGuire v. Strange, doc.

     255 at 34-35 ("[Richardson] chose to implement' the imprinting 'CRIMINAL SEX

     OFFENDER on the affected identification cards."), and doc. 258 at 1 ("Defendant

     [Richardson] hereby gives notice of his intent to adopt Luther Strange's Post. Trial Brief

     (Doc. #255).).

336. Defendant Richardson made it unlawful for any ASORCNA registrant to carry any other

     state-issued identification Without his chosen inscription. As a result, the branded

     regist1ant identification became official state-wide policy enforced in all 67 counties and

     scores of municipalities in Alabama.

337. By branding ASORCNA registrants' state-issued identification card, Defendant

     Rióhardson violated the First Amendment rights of the plaintiffs and the class of similarly

     situated registrants of ASORCNA by proscribing their right to speak, and to refrain from

     speaking - to express their own views and be free from compulsory endorsement of the

     State's views.




                                             44
  Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 45 of 47



338. Supreme Court and Eleventh Circuit decisions clearly establish that infringement of

     speech through proscriptive measures carry a strong presumption of unconstitutionality.

     See e.g., Wooley v. Maynard, 430 U.S. 705 (1977); Cooper v. Dillion, 403 F.3d 1208 (11th

     Cir. 2005). Our courts have invalidated state laws that serve to proscribe speech in the

     manner that Defendant Richardson chose when branding ASORCNA registrants'

     identification. Id.

339. Defendant Richardson had years of prior warning through prior litigation and a federal

     court's explicit warning about the potential unlawftilneSs of his decision to place the

     humiliating brand on registrant identification.

340. No reasonable official would find legal, the forcing of its citizens - most of them free

     Americans with no custodial relationship with the State - to carry state-branded

     identification inscribed with a state message Which humiliates, shames and embarrasses

     them and subjects them to daily ostracisni.

341. The defendant-chose the particularly harsh and unconstitutional means under the statutory

     guise of "enabling officers to identify" ASORCNA registrants. Yet Richardson excluded

     so many less-offensive and constitutionally palatable alternatives.

342. Because of the constitutional harm he caused registrants of ASORCNA to experience,

     Defendant Richardson is liable in his individual capacity pursuant to 42 U.S.C. § 1983.

34-3. The Eleventh Amendment does not erect a barrier against suits to impose individual and

     personal liability on Defendant Richardson under 42 U.S.C. § 1983. Nor is Defendant

     Richardson absolutely immune from personal liability under 42 U.S.C. § 1983 solely by

     virtue of the official nature of his acts.




                                                  45
     Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 46 of 47



   344. Defendant Richardson, sued in his individual capacity, is a "person" within the meaning

        of 42 U.S.C. § 1983.

                                          Lack of Legal Remedy

   345. The plaintiffs' harm is ongoing, and cannot be alleviated except by injunctive relief.

   346. No other relief is available at law.

                                           Request For Relief'

       Wherefore, the Plaintiffs request that this Court:

       a, Issue a judgement pursuant to 28 U.S.C. § 2201-2202, declaring that ASORCNA
           unconstitutionally infringes upon the plaintiffs' fundamental rights to maintain intimate
           familial associations, to travel, to engage in the common occupations of life, to privacy,
           to engage in free speech, and to remain silent, and issue a preliminary and permanent
           injunction restraining the defendants from enforcing against the plaintiffs those
           provisions of ASORCNA that interfere with those rights.

       b.    Issue a judgement pursuant-to 28 U.S.C. § 220 1-2202, declaing that ASORCNA is
            void under the Due Process Clause of the Fourteenth Amendment due to vagueness and
            impossibility and issue a preliminary and permanent injunction restraining the
            defendants from enforcing against the plaintiffs those provisions of ASORCNA that
            are unconstitutional.

       c. Issue a judgement pursuant to 28. U.S.C. § 2201-2202, declaring that ASORCNA
          requirements that John Does #3, #4, #6, and #8, who are "in-town" registrants, report
          to two law enforcement agencies and pay dual fees violates the Due Process Clause of
          the Fourteenth Amendment of the United States Constitution, and issue a preliminary
          and permanent injunction restraining the defendants from enforcing ASORCNA
          against them.

       d. Issue a judgement pursuant to 28 U.S.C. § 2201-2202, declaring the Defendant
          Richardson, individually, violated the Constitutional rights of the Plaintiffs and
          similarly situated class members and is liable pursuant to 42 U.S.C. § 1983.

       e. Certify this case as a class action pursuant to Rule 23(a) and Rule 23(b)(2) of the
          Federal Rules of Civil Procedure with the class and sub-class as defined above.

       f. Award damages to the plaintiffs and similarly situated class members.



 The Plaintiffs will file a Motion for and Memorandum in support of Preliminary Injunctive relief
contemporaneous to the filing of this Complaint.
                                                 46
Case 2:15-cv-00606-WKW-SMD Document 1 Filed 08/20/15 Page 47 of 47




 g. Award the plaintiffs their costs and reasonable attorneys' fees pursuant to 42 LJ.SC. §
     1988.

            Respectfully submitted this 20th day of August, 201 5




                                                                    ______	   C-




                                                            J Mitclh McGuire (MCG014)
                                                            McGuire & Associates, LLC
                                                            31 Clayton Street
                                                            Montgomery, Alabama 36104
        	
   ki
                                                            334-517-1000 (voice)
                                                            334-517-1327 (fax)
                                                            jmcguiremandabusiness1aw.com
                                                            Attorney for Plaintiffs




                                               47
